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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Richard M. Pachulski 62337
 Pachulski Stang Ziehl & Jones LLP                                                                       FILED & ENTERED
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                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY deramus DEPUTY CLERK



      Individual appearing without attorney
      Attorney for: Civic Real Estate Holdings III, LLC

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                      CASE NO.: 8:25-BK-11409-sc

 CHANTILLY ROAD, LLC                                                         CHAPTER: 7

                                                                             ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                                             [LBR 9075-1(b)]
                                                             Debtor(s).

 Movant (name):



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Motion for Relief From the Automatic Stay

    b. Date of filing of motion: July 8, 2025

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: July 8, 2025

3. Based upon the court’s review of the Application, it is ordered that:

    a.        The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.        The Application is granted, and it is further ordered:



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(1)         A hearing on the motion will take place as follows:


       Hearing date:                                Place:
       Time:                                           255 East Temple Street, Los Angeles, CA 90012
       Courtroom:                                      21041 Burbank Boulevard, Woodland Hills, CA 91367
                                                       3420 Twelfth Street, Riverside, CA 92501
                                                       411 West Fourth Street, Santa Ana, CA 92701
                                                       1415 State Street, Santa Barbara, CA 93101

(2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
            persons/entities listed:

       (A) Deadlines:                          (B) Persons/entities to be provided with telephonic notice:
       Date:                                       The petitioning creditors (through counsel);
                                                   The debtor;
                                                   Parties requiesting special notice
       Time:

                                                        See attached page
                                               (C) Telephonic notice is also required upon the United States trustee


(3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
            served upon all persons/entities listed using:        one of the methods checked        all of the
            methods checked

      (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

       (B) Deadlines:                          (C) Persons/entities to be served with written notice and a copy of this
                                                   order:
       Date:
                                                   The petitioning creditors (through counsel);
                                                   The debtor;
       Time:
                                                   Parties requesting special notice


                                                        See attached page
                                               (D) Service is also required upon:
                                                   -- United States trustee (electronic service is not permitted)
                                                   -- Judge’s copy personally delivered to chambers
                                                      (see Court Manual for address)




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(4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
          must be served on all persons/entities listed using:        one of the methods checked       all of the
          methods checked
      (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

        (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                                                  documents:
        Date:
                                                  Parties requesting special notice
        Time:


                                                     See attached page
                                               (D) Service is also required upon:
                                                   -- United States trustee (no electronic service permitted)
                                                   -- Judge’s copy personally delivered to chambers
                                                      (see Court Manual for address)

(5)         Regarding opposition to the motion

            opposition to the motion may be made orally at the hearing

            no later than the deadlines given, written opposition to the motion must be filed with the court and
            served upon all persons/entities listed using:     one of the methods checked           all of the methods
            checked
      (A)        Personal Delivery            Overnight Mail               First Class Mail              Facsimile*                 Email*

       (B) Deadlines:                          (C) Persons/entities to be served with written opposition to the motion:
        Date:                                      -- movant’s attorney (or movant, if movant is not represented by an
                                                       attorney)
         Time:




                                               (D) Service is also required upon:
                                                   -- United States trustee (electronic service is not permitted)
                                                   -- Judge’s copy personally delivered to chambers
                                                      (see Court Manual for address)


(6)         Regarding a reply to an opposition:

            a reply to opposition may be made orally at the hearing.

            no later than the deadlines given, a written reply to an opposition must be filed with the court and
            served on all persons/entities listed using:        one of the methods checked           all of the methods
            checked

      (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




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               (B) Deadlines:                           (C) Persons/entities to be served with written reply to opposition:
                 Date:                                      -- All persons/entities who filed a written opposition

                 Time:



                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s Copy personally delivered to chambers
                                                               (see Court Manual for address)


        (7)       Other requirements:




        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:              Date:                          Time:




                 Date: July 9, 2025




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